Case 1:18-mj-01581-SCY Document 2 Filed 05/08/18 Page 1 of 6
AO 91 (Rev. 11/ ll) Criminal Complaint

 

 

 

 

 

UNITED STATES DISTRICT CoURi"'V/TED FIL}»
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District of New Mexico QUE, /VET"‘;/CT 0
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V. ) 10
DouGLAS D. leTH § Case N°'
§ _ _
) / 8 i</cj / §§ /
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of N|ay 5, 2018 in the county of RiO Afriba in the
United States District of New Mexico , the defendant(s) violated:
Code Section Ojj“ense Description
USC Tit|e 18 1152 & 1111(a) Reck|ess disregard for human |ife.

This criminal complaint is based on these facts:

!f Continued on the attached sheet.
% %
Complainant’s signature

Travis Tay|or, Specia| Agent, FB|

Printed name and title

 

Sworn to before me and signed in my presence.

Date: §; f/E
% Judge’s si ure
City and State; A|buquerque, New Mexico § 4 51 /%~ J//;///J
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Print'ed name'and title

U.S. MAG|STRATE JUDGE

 

Case 1:18-mj-01581-SCY Document 2 Filed 05/08/18 Page 2 of 6

THE UNITED STATES DISTRICT

 

COURT
DISTRICT OF NEW MEXICO
UNITED STATES OF AMERICA, )
)
vs. ) Case No.
)
DOUGLAS D. SMITH, )

Year of Birth 1950

AFEIDAYL[.IN.SLRRQRT_QERIMINALLDMRLAINI

I, Travis Taylor, being duly sworn, depose and say as follows:

1. I am a Special Agent of the Federal Bureau of Investigation (FBI) currently assigned to
the Santa Fe Resident Agency (SFRA) of the FBI Albuquerque Division to investigate
violations of Federal Laws, including Title 18, United States Code, Section 1152, Crimes in

Indian Country, and Title 18 United States Code, Section llll(a), Murder.

2. The information set forth in this affidavit has been derived from my own investigation or
communicated to me by other sworn law enforcement officers. This information is submitted
for the limited purpose of establishing probable cause to believe that DOUGLAS D. SMITH,
hereinafter referred to as SMITH, year of birth 1950, has committed felony violations of Title
18, United States Code, Sections 1152 and llll(a). This affidavit therefore does not set

1 forth all of my knowledge about this matter.

1 PROBABLE CAUSE

 

Case 1:18-mj-01581-SCY Document 2 Filed 05/08/18 Page 3 of 6

. On May 5, 2018, at approximately l:l7AM, Espanola Police Department (EPD) was

dispatched to the Western Winds Motel, 825 North Riverside Drive, Espanola, New
Mexico, after the manager, SMITH, shot an unknown female with a .22LR handgun after

he observed her attempting to break into his mother’s camper trailer.

. After the crime scene investigation was completed, EPD Detective Byron Abeyta

proceeded to Espanola Police Department to interview SMITH about the incident.

SMITH was read his Miranda Rights in the interview room and agreed to be interviewed.

. The following information was provided by SMITH to Detective Abeyta during the

interview:

SMITH stated that he has had problems with burglaries and people stealing from his yard
in the past, as well as problems with raccoons entering his yard. SMITH has three
motion sensors in his yard that alert him with an audible sound in his house if there is
movement outside. Prior to the incident, the motion sensors went off twice, and were

approximately one hour apart.

SMITH stated that he conducted checks outside of his residence when the motion Sensors
went off; however, SMITH did not locate anything during those two checks. SMITH

also stated that he takes a pistol with him when he exits his house at night.

SMITH was lying in bed when the alarm went off for a third time, and put on shoes and a

jacket to go outside and check. He stepped onto his porch thinking it was raccoons, and

 

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Case 1:18-mj-01581-SCY Dooument 2 Filed 05/08/18 Page 4 of 6

observed the shadow of a person attempting to hide behind bushes and staring at him near

the door of his mother’s camper trailer.

SMITH stated that he was scared and began shooting toward the left of the camper from
the porch. SMITH stated that the shadow began running to the left after the first shot,
and SMITH continued to shoot in the same general direction to scare off the person as he

has done before.

After shooting, SMITH began to try to reload his pistol because he didn’t know if there
were more people or if that person would shoot back. SMITH was too shaken up to

reload his gun and began to search the area after re-inserting the magazine.

During his search, SMITH observed a body on the floor as he walked around the
residence in a counterclockwise manner SMITH’s neighbor opened her door and he told
her that he had just shot someone. The neighbor then advised him to contact the police so

he called 911.

SMITH Stated that he was instructed to place the gun away from him and wait for

officers to arrive.

During EPD’s investigation, it was discovered that 825 North Riverside Drive, Espanola,

New Mexico, is located within the exterior boundaries of the Santa Clara Pueblo.

Also during EPD’s investigation, the victim’s identity was discovered to be M.G.

hereinafter referred to as Jane Doe, and the victim was determined to be a registered

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Case 1:18-mj-01581-SCY Dooument 2 Filed 05/08/18 Page 5 of 6

member of the Santa Clara Pueblo. SMITH is non-Indian.

After it was discovered that the incident occurred on tribal land, and that the victim was

Indian, the Santa Fe Resident Agency (SFRA) of the FBI was contacted.

Special Agent Travis Taylor contacted Detective Abeyta on 05/07/2018 to ask follow up
questions. Detective Abeyta informed Special Agent Travis Taylor that the victim

sustained one fatal gunshot wound to her upper left temple with no exit wound.

Per Detective Abeyta’s report, no weapons or burglary tools were located near Jane

Doe’s body.

On 05/07/2018, SMITH was arrested on probable cause and taken into federal custody.
He was then transported to the SFRA where he was interviewed by FBI Special Agents

(SA’s) Michelle Cobb and Travis Taylor.

During the interview, SMITH re-iterated what he had told EPD Detective Abeyta, and
added that he has in the past fired warning shots at trespassers on his property. SMITH
drew a picture of the property outlining where he was and where Jane Doe was when he
began shooting. SMITH indicated that when he first saw Jane Doe, she made no moves

towards him nor did he see anything in her hands.

SUMMARY

At the time of the incident with Douglas SMITH, Jane Doe. was a registered member of
the Santa Clara Pueblo. The incident occurred at 825 North Riverside Drive, Espanola,

New Mexico, which lies within the exterior boundaries of the Santa Clara Pueblo.

 

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Case 1:18-mj-01581-SCY Dooument 2 Filed 05/08/18 Page 6 of 6

Douglas SMITH is a non-Indian.
Your affiant believes, based on the evidence that SMITH acted with malice aforethought
and with a reckless disregard for human life while shooting at an unarmed individual,

thereby committing the crime of second degree murder.

In view of the above facts, your affiant submits there is probable cause to believe that on
or about May 5, 2018, Douglas SMITH, a non-Indian, did murder Jane Doe., an Indian.
The incident occurred within the District of New Mexico, in violation of Title 18, United
States Code, Section 1152, Crimes in Indian Country, and Title 18, United States Code,

Section l l l l(a), Murder.

Supervisory AUSA Kyle T. Nayback reviewed and approved this affidavit for legal

sufficiency.

l swear that this information is true to the best of my knowledge and

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belief.

Travis Taylor

SpecialAgent, Federal Bureau of Investigation

 

United States Magistrate Judge

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Subscrlbed and sworn to before me th1s day of May 2018

